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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

STEVEN HOTZE, MD., et al.,              §
         Plaintiffs,                    §      Civil Action No. 4:20-cv-03709
v.                                      §
                                        §
CHRIS HOLLINS, in his official capacity §
as Harris County Clerk,                 §
                    Defendant.

                                       ORDER

         Upon review of the MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF

ON BEHALF OF THE TEXAS COALITION OF BLACK DEMOCRATS, the Court orders the

motion     GRANTED / DENIED.



SIGNED this the ___ day of November 2020.




                                                  ______________________________

                                                                Hon. Andrew S. Hanen

                                                           United States District Judge
